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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


 United States of America,                                 Crim. No. 20-242 (SRN/BRT)

                      Plaintiff,

 v.                                                             ORDER

 (1) David Scott Nelson,

                      Defendant.


Bradley M. Endicott, Esq., United States Attorney’s Office, counsel for Plaintiff.

James R. Behrenbrinker, Esq., Behrenbrinker Law Firm, counsel for Defendant Nelson.


       This action came before the Court on April 21, 2021, for a hearing on various

pretrial motions filed by Defendant. The hearing was held by video conference via Zoom,

by consent of the Defendant (Doc. Nos. 38, 40), because of the COVID-19 pandemic.

Based on the file and documents contained herein, along with the memoranda and

arguments of counsel, the Court makes the following Order:

       1.     Defendant’s Motion to Compel the Government to Disclose Evidence

Favorable to Defendant. Defendant moves, pursuant to Brady v. Maryland, 373 U.S. 83

(1963), and its progeny, for an order compelling the Government to disclose all evidence

favorable to him. The Government states that it has complied and will continue to comply

fully with its obligations under Brady and Giglio v. United States, 405 U.S. 150 (1972).

Defendant’s Motion to Compel the Government to Disclose Evidence Favorable to

Defendant (Doc. No. 19) is GRANTED to the extent it is not moot. Within 10 days of
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the date of this Order, the Government must disclose all Brady and Giglio information in

its possession or of which it has become aware as of the date of this Order and must

promptly supplement its disclosure upon receipt of any additional Brady and Giglio

information not previously disclosed.

       2.     Defendant’s Motion for Disclosure of Statements of Unindicted

Individuals and Informants. Defendant moves the Court for an order pursuant to Rule

16(c) of the Federal Rules of Criminal Procedure and Bruton v. United States, 391 U.S.

123 (1968), compelling the Government to give notice and disclosure of its intent to use

evidence at trial of statements or confessions of any unindicted individual, cooperating

witness, or confidential reliable informant, and granting Defendant leave to file motions

for suppression and/or motions in limine. The Government objects to this request to the

extent it imposes upon the Government any affirmative duty other than may be imposed

by Bruton, and its progeny. It represents that it will disclose Brady materials, and will

resolve Bruton issues when they arise. Defendant’s Motion for Disclosure of Statements

of Unindicted Individuals and Informants (Doc. No. 20) is GRANTED IN PART and

DENIED IN PART. To the extent that the motion seeks evidence favorable to the

Defendant, the statements will be produced pursuant to the Court’s Order on the motion

seeking exculpatory evidence, impeaching evidence, and evidence otherwise favorable to

the Defendant. The motion is further GRANTED to the extent that it conforms to the

scope of Rule 16, and the Government shall comply with any obligations that may arise

under Bruton v. United States, 391 U.S. 123 (1968). The motion is otherwise DENIED.

Any motions in limine shall be filed in accordance with the District Court’s pretrial order.


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And the Government may make Jencks Act material available to Defendant three days

prior to trial as it has represented it would do.

       3.     Defendant’s Motion for Government Agent’s to Retain Rough Notes.

Defendant moves for an order requiring law enforcement agents, including any

confidential reliable informants, to retain and preserve all rough notes taken as part of

their investigation into this case. The Government does not object to the motion as stated,

but does object to any order concerning disclosure of rough notes. Defendant’s Motion

for Government Agents to Retain Rough Notes (Doc. No. 21) is GRANTED. However,

disclosure of rough notes is not required by this Order.

       4.     Defendant’s Motion for Pretrial Disclosure of Jencks Act Material.

Defendant moves for an order requiring the Government’s early compliance with the

Jencks Act, 18 U.S.C. § 3500, specifically requesting disclosure of Jencks Act material at

least thirty days prior to trial. The Government objects to this motion on the grounds that

this Circuit has repeatedly held that the government may not be required to make pretrial

disclosure of Jencks material. United States v. Sturdivant, 513 F.3d 795, 803 (8th Cir.

2008); see also United States v. White, 750 F.2d 726, 728–29 (8th Cir. 1984). Because

the Jencks Act plainly provides that “no statement or report in the possession of the

United States which was made by a Government witness or prospective Government

witness (other than the defendant) shall be the subject of subpoena, discovery, or

inspection until said witness has testified on direct examination in the trial of the case,”

Defendant’s Motion for Pretrial Disclosure of Jencks Act Material (Doc. No. 22) is

DENIED. Nothing in this Order, however, precludes the Government from voluntary


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reciprocal exchange of Jenks Act material with Defendant three days prior to trial as the

Government has represented it would do.

       5.     Defendant’s Motion for Discovery and Inspection. Defendant requests

an order requiring the Government to produce or permit various items of inspection,

copying, and photographing pursuant to Fed. R. Crim. P. 16. The Government represents

that it has complied with Rule 16, and that it will continue to comply as additional

materials come into its possession. Defendant’s Motion for Discovery and Inspection

(Doc. No. 23) is GRANTED to the extent that it conforms to Fed. R. Crim. P. 12, 16, and

26.2 and is not already moot. The motion is DENIED to the extent that the Jencks Act

protects disclosure, and identification of witnesses shall be done in accordance with the

District Court’s pretrial order on disclosure of witness and exhibit lists. However, the

parties must disclose the identity of any non-rebuttal experts and all non-rebuttal expert

disclosures 30 days before trial. Any rebuttal experts must be noticed along with the

production of rebuttal expert disclosures no later than 10 days before trial. Within 10

days of the date of this Order, the Government must disclose all Brady and Giglio

information in its possession or of which it has become aware as of the date of this Order

and must promptly supplement its disclosure upon receipt of any additional Brady and

Giglio information not previously disclosed.

       6.     Defendant’s Motion for Disclosure of 404(b) Evidence. Defendant

moves for immediate disclosure of any “bad act” or “similar course of conduct” evidence

that the Government intends to offer at trial pursuant to Fed. R. Evid. 404. The

Government objects to immediate disclosure but represents that it will comply with Rule


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404 and that it is agreeable to disclosure 14 days prior to trial and on a continuing basis

thereafter. Defendant’s Motion for Disclosure of 404(b) Evidence (Doc. No. 24) is

GRANTED to the extent that the Government must disclose Rule 404 evidence no later

than 14 days prior to trial.

       7.     Defendant’s Motion Requesting a Hearing Pursuant to Franks v.

Delaware. In July 2020, the Government along with other governmental agencies

initiated a firearms and narcotics investigation of Defendant. (Gov’t Hr’g Ex. 1.) In July

and August 2020, officers heard Defendant discussing criminal activity involving

firearms and narcotics during routinely monitored phone calls with inmates in Minnesota

Department of Corrections (“DOC”) custody. (Id. at 4–6.) Based on the information

learned during those calls, officers obtained a search warrant for cell site location

information on Defendant’s cellular telephone. (Id. at 6.) Between September 9 and

September 20, 2020, cell site information indicated forty-seven “pings” from Defendant’s

phone at [XXX] Euclid Avenue, St. Paul, Minnesota. (Id. at 6–7.) Also in September

2020, investigators learned of additional calls made by Defendant to inmates in DOC

custody wherein he made further statements about firearms and narcotics, including a

recent encounter where his vehicle was struck by bullets. (Id. at 10–11.) The day after

these comments were made, on September 11, 2020, Special Agent Scott B. Gleason

located Defendant’s vehicle and observed what appeared to be two bullet holes in the rear

passenger side of the vehicle. (Id. at 11.) On September 22, 2020, an officer observed

Defendant exit the rear of the [XXX] Euclid Avenue residence, enter a car registered to




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his known girlfriend, and return to the residence. (Id. at 7.) That address was Defendant’s

girlfriend’s registered residence with the Minnesota Department of Vehicle Services. (Id.)

       Based on the above information, Special Agent Gleason sought and received a

warrant to search the [XXX] Euclid Avenue residence, and officers executed the search

on September 29, 2020. (Gov’t Hr’g Ex. 1.) Various rounds of ammunition were found

during the execution of the search warrant, and Defendant was charged with Felon in

Possession of Ammunition – Armed Career Criminal in violation of 18 U.S.C.

§§ 922(g)(1), 924(e). (Doc. No. 13, Indictment.) Defendant has prior felony convictions,

and therefore is ineligible to possess firearms. (Gov’t Hr’g Ex. 1 at 4; Indictment at 1–2.)

       Defendant argues the search warrant application for [XXX] Euclid Avenue

contains substantial false statements and seeks an evidentiary hearing pursuant to Franks

v. Delaware, 438 U.S. 154 (1978). Specifically, Defendant contends that Special Agent

Gleason’s statements that “Defendant was living at the [XXX] Euclid address,” and that

Defendant “is utilizing this address on Euclid as his primary residence,” were made with

reckless disregard for the truth. (Doc. No. 48, Def.’s Mem. in Supp. of Mot. 3–5.)

Defendant asserts that officers knew “there were at least two additional addresses that

Defendant frequented,” but omitted that information from the affidavit. (Id. at 5.)

Defendant contends the assertion that the Euclid Avenue address was Defendant’s

primary residence “was critical to the finding of probable cause to issue a search warrant”

for the address. (Id.)

       The Government opposes Defendant’s motion for a Franks hearing. (See Doc.

No. 55.) The Court received Defendant’s Exhibits 1–4 and Government Exhibit 1 at the


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hearing. (Doc. No. 58.) The parties submitted briefs prior to the hearing on the issue, and

argument at the hearing. The parties did not request further briefing on the issue.

       A magistrate judge may be designated to rule on any non-dispositive matter

pending before the court. 28 U.S.C. § 636(b); Fed. R. Crim. P. 59(a). Motions for Franks

hearings are non-dispositive. See, e.g., United States v. Mays, No. 19-cr-0075 (ECT/HB),

2019 WL 4565636, at *1, 4 (D. Minn. Sept. 20, 2019).

       “A search warrant may be invalid if the issuing judge’s probable cause

determination was based on an affidavit containing false or omitted statements made

knowingly and intentionally or with reckless disregard for the truth.” United States v.

Conant, 799 F.3d 1195, 1199 (8th Cir. 2015) (quoting United States v. Reinholz, 245 F.3d

765, 774 (8th Cir. 2001)). “To prevail on a Franks claim the defendants must show:

(1) that a false statement knowingly and intentionally, or with reckless disregard for the

truth, was included in the affidavit; and (2) that the affidavit’s remaining content is

insufficient to establish probable cause.” Reinholz, 245 F.3d at 774. “The same analysis

applies to omissions of fact. The defendant must show: (1) that facts were omitted with

the intent to make, or in reckless disregard of whether they make, the affidavit

misleading; and (2) that the affidavit, if supplemented by the omitted information, could

not support a finding of probable cause.” Id.

       To get a Franks hearing, Defendant must make “a substantial preliminary

showing” that the affiant at least recklessly disregarded the truth through a false

statement or omission and that the false statement or omission “is necessary to the finding

of probable cause.” Franks, 438 U.S. at 155–56; see also United States v. Daigle, 947


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F.3d 1076, 1084 (8th Cir. 2020). This preliminary showing requires Defendant to “offer

specific allegations along with supporting affidavits or similarly reliable statements.”

United States v. Gonzalez, 781 F.3d 422, 430 (8th Cir. 2015). “A Franks hearing must be

denied unless the defendant makes a strong initial showing of deliberate falsehood or

reckless disregard for the truth.” United States v. Freeman, 625 F.3d 1049, 1052 (8th Cir.

2010) (quotations omitted). For omissions, recklessness “may be inferred . . . when the

material omitted would have been clearly critical to the finding of probable cause.”

Conant, 799 F.3d at 1200 (quoting United States v. McIntyre, 646 F.3d 1107, 1114 (8th

Cir. 2011)).

       The Court concludes that Defendant has met his burden to make a substantial

preliminary showing. Defendant’s counsel highlighted, by providing exhibits to the

Court, that there were at least two—and perhaps up to five— other residences that

Defendant frequented and could have been his primary residence. (See Def. Hr’g Exs. 2,

3, 4.) At the hearing, defense counsel also explained that the pings referenced in the

search warrant affidavit were only a small number of the total pings during that time-

period, therefore indicating that Defendant was likely spending more of his time in places

other than the Euclid Avenue residence. The Court agrees that although the affidavit links

Defendant to narcotics and weapons activity through the DOC call records and links

Defendant to the Euclid Avenue residence through both surveillance and the cell phone

pings, as Defendant’s counsel argued at the hearing, without reference to the Euclid

Avenue address being Defendant’s primary residence, the search warrant affidavit

otherwise lacks information linking the alleged criminal activity with that address. The


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Court concludes that Defendant has made a substantial preliminary showing that the

affidavit omitted other facts that would have weighed into whether the address was in fact

Defendant’s primary residence, which, in light of the lack of other facts linking criminal

activity to the residence, could be critical to the finding of probable cause. The omission

of these facts allowed a judicial officer to draw inferences about where Defendant’s

primary residence would have been, and therefore, where Defendant likely would store

weapons or narcotics; these inferences may not have been drawn if the other facts were

included.

       Because Defendant has made a substantial preliminary showing that either the

officer recklessly disregarded the truth about the Euclid Avenue address being

Defendant’s primary residence, or the officer omitted statements that would have affected

the probable cause determination and therefore reckless disregard for truth can be

inferred, further inquiry at a hearing will be allowed.

       Accordingly, Defendant’s Motion Requesting a Hearing Pursuant to Franks v.

Delaware (Doc. No. 47) is GRANTED. On or before May 12, 2021, Defendant’s

counsel must file a notice of whether Defendant consents to a video hearing for the

Franks hearing or whether Defendant requests an in-person hearing. A hearing will be

scheduled once this notice has been filed. Defendant’s related motion to suppress

evidence, referenced below, will be addressed in a subsequent Report and

Recommendation.




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       8.     Defendant’s Motion to Suppress Evidence Obtained as a Result of

Search and Seizure. Defendant seeks an order suppressing any physical evidence

obtained from the execution of a search warrant issued September 25, 2020, of

Defendant’s alleged residence on Euclid Avenue in St. Paul, Minnesota. 1 The

Government opposes the motion to suppress. Defendant’s Motion to Suppress Evidence

Obtained as a Result of Search and Seizure (Doc. No. 17) will be taken under advisement

after the above-referenced Franks hearing takes place, and after all post-hearing briefing

is received by the Court. The Court will thereafter issue a Report and Recommendation

to the District Court.

       9.     The voir dire, jury instructions, and trial related motions due date, along

with the trial date, are to be determined by U.S. District Judge Susan Richard Nelson

following resolution of Defendant’s Motion to Suppress.


Date: April 28, 2021
                                                         s/ Becky R. Thorson
                                                         BECKY R. THORSON
                                                         United States Magistrate Judge




1
        Defendant withdrew his motion to the extent it challenged other search warrants in
this case. (Doc. No. 43 (“Defendant does not wish to maintain, and hereby withdraws that
portion of his motion that relates to a search warrant for (a) two digital devices (a cell
telephone and a computer tablet), and (b) a BMW 750 automobile.”).)

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